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                           EXHIBIT 28A
    Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 2 of 51 PageID #:3484
                      Registration #:   vAN02287366
                   Service Request #:   l-r   100751501   1

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Interfocus Inc
Can Wang
650 Castro Street Ste. 120-458
Mountain View, CA 94041 United States
         Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 3 of 51 PageID #:3485
Certifi cate of Registration
        STA?.,               This Certificate issued under the seal of the Copyright
                             Office in accordance with title ry,(Jnited States Cocle,
                                                                                                                                      ffi
                             attests that registration has been made for the work
                     o       identified below. The information on this certificate has
F.
                                                                                          Registration Number
                     :       been made a part of the Copyright Office records.
                                                                                          YA      2-287-366
91




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                             United States Register of Copyrights and Director
                                                                                          Effective Date of Registration:
                                                                                          December lO,2O2l
                                                                                          Registration Decision Date:
                                                                                          February 16,2022




     Gopyright Registration for a Group of published photographs
     Registration issued pursuant to 37 C.F.R. S 202.4(i)
                For Photographs Published: July 26,2021to November 25,2021

                     Tiile

                               Title of Group:     1-1 1007515011      2O2IPATPAT Published 750
         Number of Photographs in Group:           750

                 o   Individual Photographs:       r733ss9s (l),
                                                   t733ss9s (7),
                                    Published:     July 2O2l

                 o   IndividualPhotographs:        t7322247    (t),
                                                   17322247 (tO),
                                                   17322247 (tt),
                                                   t7322247 (12),
                                                   11322247 (2),
                                                   11322247 (3),
                                                   17322247 (4),
                                                   17322247 (9),
                                                   1732541s (t),
                                                   1732541s (r3),
                                                   17325415 (14),
                                                   t732s41s (15),
                                                   17325415 (16),
                                                   1732541s (2),
                                                   17326591 (2),
                                                   17326s97 (3),
                                                   17326s97 (4),
                                                   17329447 (t),
                                                   t'1329441 (2),
                                                   17349712 (t),
                                                   173491t2 (5),
                                                   173s1616 (8),
                                                   17351616 (9),
                                                   173s3304 (t),
                                                   173s3304 (l),
                                                   t13s3304    (tt),
                                                   173s3304 (2),
                                                   173s4061 (r),
                                                   t73s406r (2),

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                     Published: August   2021

    a   Individual Photographs:   17289412   (r),
                                  17289412 (18),
                                  17289412 (2),
                                  17289412 (3),
                                  17289412 (4),
                                  t7289412 (s),
                                  t72894r2 (6),
                                  r73s2923 (t),
                                  t73s2923 (6),
                                  r73s2923 (7),
                                  173s2923 (8),
                                  t73sso92 (to),
                                  t73ssw2 (tt),
                                  173ss092 (12),
                                  r73sso92 (13),
                                  t73s50p2 (2),
                                  173ssw2(3),
                                  173ss092 (6),
                                  t73ss092   (7),
                                  t73sss7s   (2),
                                  r73sss7s   (6),
                                  t73sss7s   (7),
                                  t73sss77   (t),
                                  t73sss77   (2),
                                  1735ss77 (3),
                                  t73sss77 (4),
                                  t73sss77 (s),
                                  t73ss577 (6),
                                  17358448(r),
                                  173s8448(2),
                                  17358448(3),
                                  17358448(4),
                                  173s8728 (3),
                                  173s8728 (s),
                                  r73s8728 (6),
                                  173s9188 (12),
                                  173s9188 (2),
                                  173s9188 (3),
                                  173s9188 (4),
                                  173s9188 (s),
                                  173s9188 (9),
                                  173se489(t),
                                  t73s9489(2),
                                  r73s9489(3),
                                  173s9489(4),
                                  r73s9489(s),
                                  173s9ss1 (10),
                                  l73sessl (6),
                                  17362073   (t),
                                  17362073   (12),
                                  17362073   (2),
                                  17362073   (6),
                                  17362073   (9),
                                  17363391   (t),
                                  1736339t (6),
                                  17363430(1),



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                                                                                              ilrflfl
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                                                                                              tLlJ
                           17363430(2),
                           17363430(3),
                           17363430(4),
                           17363430(s),
                           17363986 (l),
                           t'1363986 (3),
                           t7363986 (6),
                           17363986 (7),
                           t7363998   (t),
                           17363998 (2),
                           t7364117 (t),
                           173641t7 (2),
                           17364214   (t),
                           t7364214 (2),
                           173646s4   (t),
                           173646s4   (2),
                           17364654   (6),
                           17364802   (2),
                           17364802   (3),
                           t73648O2   (4),
                           t73648r7 (t),
                           17364817   (2),
                           17364817   (3),
                           17365181   (10),
                           17365181   (11),
                           1736sr8r   (2),
                           1736s181   (3),
                           17365181   (8),
                           17365181   (9),
                           r736s9s7   (2),
                           r736s957   (3),
                           1736s9s7   (4),
                           t736s9s7   (7),
                           17365957   (8),
                           1736s9s7   (9),
                           17366099   (t),
                           t7366099 (5),
                           17366099 (6),
                           17366101 (1),
                           17366101 (1s),
                           t7366101 (2),
                           17366101 (3),
                           17366101 (8),
                           1736643s(t),
                           t736643s(2),
                           17366435(3),
                           1736643s(4),
                           t7366470   (t),
                           17366470 (2),
                           17366779 (t),
                           t7366779 (s),
                           t7366848 (t),
                           17366848 (10),
                           17366848 (1 1),
                           t7366848 (12),
                           17366848 (13),
                           17366848 (4),
                           17366848 (6),



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                                     17366896 (1),
                                     17366896 (2),
                                     17366949(l),
                                     17366949(s),
                                     t7366949(6),
                                     n366949(9),
                                     173669s0 (t),
                                     17366950 (1 l),
                                     t7366es0 (t2),
                                     t7366es0 (2),
                                     173669s0 (3),
                                     173669s0 (8),
                                     17367rs3 (t),
                                     t73671s3 (2),
                                     173671s6 (t),
                                     173671s6 (2),
                                     t73673r4 (t),
                                     t7367314 (2),
                                     17367314 (3),
                                     17367314 (8),
                                     17367314 (9),
                                     17367393 (t),
                                     17367393 (4),
                                     t7367393 (s),
                                     t7367393 (8),
                                     17367604 (r),
                                     17367604 (s),
                                     1736816s (l),
                                     17368165 (2)
                     Published:      September 2021

    a   Individual Photographs   :   t737rs47 (9),
                                     t737tss4 (t),
                                     t737tss4 (2),
                                     t737tss4 (3),
                                     1737t5s4 (4),
                                     t737rss4 (s),
                                     1737t5s4 (6),
                                     t737tss4 (7),
                                     1737tss4 (8),
                                     t7372290 (1),
                                     17372290 (2),
                                     17372290 (3),
                                     17372290 (4),
                                     11372290 (5),
                                     t737229O (6),
                                     17372290 (8),
                                     17373se0 (1),
                                     r7373s90 (2),
                                     17373s90 (3),
                                     17373s90 (4),
                                     17373s90 (s),
                                     t7373s90 (6),
                                     17373s90 (7),
                                     17373s90 (8),
                                     77373983 (t),
                                     17373983 (2),
                                     17373983 (3),



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                           17373983 (4),
                           t7373983 (5),
                           17373983 (6),
                           17373983 (7),
                           17373e83 (8),
                           17374804 (t),
                           17374804 (tO),
                           t7374804 (11),
                           17374804 (r2),
                           17374804 (t3),
                           17374804 (14),
                           17374804 (ts),
                           17374804 (16),
                           t7374804 (17),
                           17374804 (18),
                           17374804 (t9),
                           t7374804 (2),
                           t7374804 (20),
                           17374804 (21),
                           17374804 (22),
                           17374804 (23),
                           17374804 (24),
                           17374804 (2s),
                           17374804 (26),
                           17374804 (27),
                           17374804 (3),
                           17374804 (4),
                           t'13748M (s),
                           t73748O4 (6),
                           17374804 (7),
                           t7374804 (8),
                           t7374804 (9),
                           17359187 (1 1),
                           r73s9187 (2),
                           173s9187 (3),
                           173s9t87 (4),
                           r73s9t87 (6),
                           17359187 (7),
                           173s9s44(t),
                           t73s9s44(2),
                           t73s9s44(3),
                           173s9s44(4),
                           17359544(5),
                           17359544(6),
                           173s95ss (3),
                           t73s9sss (4),
                           17359555 (6),
                           t736r712 (t),
                           17361712 (r0),
                           17361712 (12),
                           t736t712 (2),
                           173617t2 (3),
                           17361712 (4),
                           t7361'112 (7),
                           t7362t94 (t),
                           t'7362t94 (2),
                           t7362264 (2),
                           17362264 (s),



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                                     17362388 (t),
                                     17362388 (5),
                                     t7362751 (1),
                                     173627st (rO),
                                     t73627st   (tt),
                                     1736275t (2),
                                     t73627sr (7),
                                     t7362916 (tO),
                                     17362916 (4),
                                     t73629r6 (s),
                                     173629t6 (6),
                                     17362916 (8),
                                     t73629r6 (9),
                                     t736298e (2),
                                     t7362989 (s),
                                     17363897 (r),
                                     17363897 (s),
                                     t7364067 (r),
                                     t7364067 (s),
                                     t7364116 (tt),
                                     r7364t16 (2),
                                     r7364tt6 (3),
                                     17364116 (6),
                                     17364tt6 (8),
                                     173642t1 (2),
                                     173642tt (3),
                                     17364226 (t),
                                     17364226 (2),
                                     17364494 (r),
                                     t7364494 (2),
                                     1736s044 (t),
                                     1736s044 (2),
                                     17365044 (3),
                                     1736s044 (7),
                                     1736s206 (t),
                                     t736s206 (tt),
                                     t736s206 (14),
                                     1736s206 (2),
                                     17365206 (4),
                                     1736s2O6 (8),
                                     1736s368 (1),
                                     t736s368 (2),
                                     t7365368 (4),
                                     1736s368 (s),
                                     1736s394 (t),
                                     1736s394 (s),
                                     1736s394 (9),
                                     17365394(8),
                                     17365447 (t),
                                     1736s447 (4),
                     Published:      October2O2l

    a   Individual Photographs   :   17365s8s   (1),
                                     17365585   (2),
                                     1736s666   (13),
                                     1736s666   (3),
                                     r736s666 (4),
                                     1736s666 (s),



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                           1736s666   (6),
                                                                                              ffi
                           1736s666   (7),
                           1736s666   (8),
                           1736s7s2   (t),
                           173657s2   (12),
                           1736s7s2   (2),
                           173657s2   (3),
                           1736s7s2   (4),
                           1736s7s2   (8),
                           17365781 (2),
                           r736s781 (3),
                           1736s781 (4),
                           17365',781(5),
                           1736s9ss (10),
                           173659ss   (tt)       ,
                           t736s9ss (3),
                           t736s9ss (s) ,
                           1736s9s5 (9)      ,
                           17365958(1),
                           1736s9s8(2),
                           1736s9s8(3),
                           1736s958(4),
                           1736s9s8(s),
                           t736s961 (2),
                           1736s961 (3),
                           t736s96t (4),
                           1736s961 (s),
                           t736s961 (6),
                           t736607s (2),
                           t736607s (3),
                           17366108 (1 1),
                           t7366108 (12),
                           17366108 (1s),
                           t7366r08 (2),
                           17366108 (3),
                           17366108 (7),
                           17366t31(t),
                           t7366t3t(2),
                           t736613r(3),
                           t7366131(4),
                           17366131(s),
                           r7366131(6),
                           t7366t60 (2),
                           17366160 (3),
                           17366t60 (4),
                           17366160 (s),
                           17366246   (t),
                           t7366246 (s),
                           17366479   (t),
                           t7366479 (r1),
                           t7366479 (2),
                           17366479 (6),
                           17366479 (7),
                           t7366511 (t),
                           17366511 (11),
                           17366 tt (t2),
                           t7366str (2),
                           t7366stt (3),


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                            r7366s11 (4),
                            17366s11 (s),
                            t7366srr (7),
                            t7366s17 (t),
                            173665t7 (5),
                            17366s26   (t),
                            t7366s26 (2),
                            t7366s26 (4),
                            17366ss6 (r),
                            17366ss6 (2),
                            r7366ss6 (3),
                            t7366ss6 (4),
                            t7366ss6 (5),
                            17366556 (6),
                            17366s82   (t),
                            t7366s82 (2),
                            17366s82 (3),
                            r7366s82 (8),
                            t7366612 (tO),
                            t7366612 (tt),
                            t7366612 (13),
                            17366612 (3),
                            t7366612 (4),
                            17366612 (8),
                            17366614 (t),
                            t7366614 (2),
                            17366614 (3),
                            17366614 (4),
                            t7366615 (t),
                            17366615 (2),
                            t736661s (3),
                            t73666rs (4),
                            1736661s (6),
                            1736661s (e),
                            17366861 (1),
                            17366861 (2),
                            17366888(1),
                            17366888(2),
                            r7366888(3),
                            r7366888(4),
                            17366888(5),
                            t7366892   (t),
                            17366892 (tt),
                            17366892 (2),
                            17366892 (4),
                            t7366892 (s),
                            t7366892 (6),
                            1736694s   (5),
                            17366945   (6),
                            17366e45   (9),
                            17367089   (1),
                            17367089   (2),
                            17367089   (6),
                            17367089   (7),
                            17367090   (r),
                            17367090   (tt),
                           t7367WO (2),
                           t7367090 (6),



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                                     173670e0 (7),
                                     17367150 (t),
                                     t7367150 (4),
                                     17367tso (s),
                                     1736'1750 (8),
                                     t7367tso (9),
                                     17367t57 (tO),
                                     17367157 (tt),
                                     173671s7 (12),
                                     17367157 (13),
                                     t7367ts',t (r4),
                                     173671s7 (4),
                                     17367t8s   (t),
                     Published:      October2o2l

    a   Individual Photographs   :   17367185 (10),
                                     t736718s (11),
                                     1736718s (4),
                                     1736718s (5),
                                     17367r85 (1),
                                     1736718s (8),
                                     17367384 (t),
                                     17367384 (5),
                                     1736739s (r),
                                     1736739s (2),
                                     1736739s (4),
                                     1736739s (s),
                                     1736739s (6),
                                     t7367463 (t),
                                     t7367463 (s),
                                     17367s19 (2),
                                     17367s19 (s),
                                     t7367s19 (6),
                                     17367s19 (7),
                                     17367s44(1),
                                     17367s44(2),
                                     17367s44(3),
                                     17367544(4),
                                     t7367544(s),
                                     t7367s44(6),
                                     17367613 (tt),
                                     17367613 (3),
                                     173676t3 (6),
                                     t73676t3 (7),
                                     t7367628 (tO),
                                     t7367628 (12),
                                     17367628 (r3),
                                     17367628 (2),
                                     17367628 (7),
                                     t7367670   (tt),
                                     17367670 (t2),
                                     17367670 (2),
                                     t7367670 (s),
                                     17367670 (6),
                                     t7367670 (e),
                                     t7367673(l),
                                     17367673(2),
                                     17367673(3),


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                                      t7367673(4),
                                      17367989 (t),
                                      17367989 (rt),
                                      17367989 (2),
                                      17367989 (3),
                                      t7361989 (4),
                                      fi367989 (5),
                                      r7368008 (1),
                                      17368008 (2),
                                      r7368008 (8),
                                      t7368707   (t),
                                      t7368707   (t2),
                                      t7368707   (3),
                                      t7368707 (4),
                                      17368707 (s),
                                      17368707 (8),
                                      17368707 (e),
                                      17378tt6 (t),
                                      17378116 (2),
                                      17378t16 (3),
                                      17378t16 (4),
                                      173781 16 (s),
                                      17378378 (r0),
                                      17378378 (tt),
                                      17378378 (6),
                                      17378378 (7),
                                      17378378 (8),
                                      17378379 (t3),
                                      17378379 (3),
                                      17378379 (5),
                                      17378380 (2),
                                      17378380 (4),
                                      17378380 (s),
                                      17378380,
                      Published:      October202l

     a   Individual Photographs   :   t7376s66   (t),
                                      17376566 (2),
                                      17376s66 (3),
                                      17376566 (4),
                                      t7376566 (5),
                                      17376566 (6),
                                      17376s66 (7),
                                      17376s66 (8),
                                      t7382s47(t),
                                      t7382s47(tO),
                                      17382547(tr),
                                      17382547(12),
                                      t7382547(13),
                                      t7382547(t4),
                                      17382s47(ts),
                                      t7382s47(16),
                                      17382547(t7),
                                      17382547(18),
                                      17382s47(19),
                                      77382s47(2),
                                      17382547(20),
                                      17382s47(21),



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                                                                                           l--+-j
                            17382s47(22),
                            t7382547(23),
                            17382547(3),
                            17382s47(4),
                            r7382s47(s),
                            t7382547(6),
                            17382s47(7),
                            17382s47(8),
                           r7382s47(9),
                           173863ss (1),
                           173863ss (10),
                           173863ss (11),
                           173863s5   (t2),
                           17386355 (13),
                           173863ss (14),
                           17386355 (15),
                           173863ss (16),
                           17386355 (2),
                           173863ss (3),
                           173863s5 (4),
                           173863ss (s),
                           1738635s (6),
                           t73863ss (7),
                           173863ss (8),
                           173863ss (9),
                           t7386364 (t),
                           17386364 (t0),
                           17386364 (tt),
                           17386364 (t2),
                           17386364 (13),
                           17386364 (r4),
                           t7386364 (ts),
                           t7386364 (16),
                           t7386364 (17),
                           17386364 (18),
                           t7386364 (r9),
                           t7386364 (2),
                           17386364 (20),
                            17386364 (2t),
                            17386364 (22),
                            17386364 (23),
                            t7386364 (24),
                            17386364 (2s),
                            t7386364 (26),
                            t7386364 (27),
                            17386364 (28),
                            17386364 (29),
                            t7386364 (3),
                            17386364 (30),
                            11386364 (3t),
                            17386364 (32),
                            t7386364 (33),
                            t7386364 (34),
                            17386364 (3s),
                            17386364 (36),
                            t7386364 (4),
                            t7386364 (s),
                            17386364 (6),



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                                     17386364     (7),
                                     17386364     (8),
                                     17386364     (9),
                                     17365468     (1),
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                                     1737s818 (8),
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                                     t7376728     (t),
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                                     17376837 (t),
                                     17376837 (12),
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                     Published:      November 2021

    a   Individual Photographs   :   t7376837,
                                     17377433     (2),
                                     17377433 (3),
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                                     17377433 (s),
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                            t7377837 (3),
                            t7377837 (7),
                            17377837 (8),
                            17377880 (t),
                            17377880 (s),
                            1737792t (t),
                            1737792r (5),
                            17378350 (2),
                            173783s0 (3),
                            17379t26 (3),
                            17379t26 (6),
                            t7379126 (7),
                            17379126 (8),
                            17379126 (9),
                            t737949s   (11),
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                            17379499   (t),
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                            t7379499 (8),
                            17379499 (9),
                            t737934s (3),
                            1737934s (7),
                            1737934s (8),
                            t7379s28(t),
                            r7379s28(2),
                            t737es28(3),
                            17379528(4),
                            17379s28(5),
                            17379s28(6),
                            17382842 (t),
                            17382842 (2),
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                            17382843 (5),
                            17382849 (t),
                            17382849 (2),
                            17383207   (t),
                            t7383207 (2),
                            t7383207 (3),
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                            t7383214 (2),
                            1"13832t4 (3),
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                                          173832t4 (7),
                                          17383214 (8),
                                          t7383424 (2),
                                          t7383424 (3),
                                          17383424 (4),
                                          17384026   (t),
                                          17384026   (2),
                                          17384026   (s),
                                          17384026   (7),
                                          17384322   (1),
                                          17384322   (2),
                                          17384322   (3),
                                          17384322   (s),
                                          17384322   (t),
                                          17384st1   (t),
                                          17384511 (2),
                                          17384s11 (s),
                                          17384516 (tt),
                                          t7384s16 (2),
                                          17384516 (7),
                                          t7384516 (9),
                                          t7384516(t),
                                          17384s33   (2),
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        Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 25 of 51 PageID #:3507
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

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Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         6116e2a8-332b-4bf5-861 1-8ab20230a481

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                                                                          j7aKQ
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                        New In gay                 Baby         Toddler         Kids    Matching Outfits   Licensed Characters                 Maternity & Nursing            Shoes & Accessories         Home & Baby Gear       Women & Maternity




                                                                                                                 Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops
                                                                                                                 Sets


                                                                                                                                $5.99
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                                                                                                                      Description
                                                                                                                      * Please add each size separately to your shopping cart.
                                                                                                                      * Soft and comfy
                                                                                                                      * Elasticized waist (women/girls/baby)
                                                                                                                      * Back function button (women/girls/baby)
                                                                                                                      * Regular fit (tops)
                                                                                                                      * Material: 100% Polyester
                                                                                                                      * Machine wash, tumble dry
                                                                                                                      * Imported



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Capture timestamp (UTC): Wed, 23 Mar 2022 08:43:48 GMT                                                                                                                                                                                                           Page 1 of 4
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                                                                                 A Page Vault
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

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Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

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PDF length:                         5

Capture ID:                         e47ad304-fd8d-47d7-bdf6-8f43f4e82782

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                                                                                                                      * Soft and comfy
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                                                                                                                      * Regular fit (tops)
                                                                                                                      * Material: 100% Polyester
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        Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 29 of 51 PageID #:3511
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

Page loaded at (UTC):               Wed, 23 Mar 2022 08:47:41 GMT

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Capture tool:                       v7.14.0

Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         1d7ddd6f-070a-426a-8572-98f80b1d6281

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                        PDF   REFERENCE        #:       INivaSPEpgC2Xmn8Dt
                                                                       xaQ2
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                                                                                                                      * Regular fit (tops)
                                                                                                                      * Material: 100% Polyester
                                                                                                                      * Machine wash, tumble dry
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Capture timestamp (UTC): Wed, 23 Mar 2022 08:48:58 GMT                                                                                                                                                                                                           Page 1 of 4
        Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 31 of 51 PageID #:3513
                                                                                 A Page Vault
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

Page loaded at (UTC):               Wed, 23 Mar 2022 08:53:34 GMT

Capture timestamp (UTC):            Wed, 23 Mar 2022 08:57:01 GMT

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Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         801 ca30f-588a-4dac-a1 1f-f3497450e59c

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Capture timestamp (UTC): Wed, 23 Mar 2022 08:57:01 GMT                                                                                                                                                                                                              Page 1 of 4
        Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 33 of 51 PageID #:3515
                                                                                 A Page Vault
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

Page loaded at (UTC):               Wed, 23 Mar 2022 08:58:08 GMT

Capture timestamp (UTC):            Wed, 23 Mar 2022 08:59:15 GMT

Capture tool:                       v7.14.0

Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         977cbcf4-d6d9-4a32-81ca-36f538f1444a

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                                                                                                                        * Soft and comfy
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                                                                                                                        * Regular fit (tops)
                                                                                                                        * Material: 100% Polyester
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Document title: Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops Sets Only $7.99 Patpat US
Capture URL: https://us.patpat.com/product/F amily-Matching-Allover-Floral-Print-Long-sleeve-Dresses-and-Contrast-Stripe-Tops-Sets-513806.html
Capture timestamp (UTC): Wed, 23 Mar 2022 08:59:15 GMT                                                                                                                                                                                                          Page 1 of 4
        Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 35 of 51 PageID #:3517
                                                                                 A Page Vault
Document      title:                Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops
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                                    Dresses-and-Contrast-Stripe-Tops-Sets-513806.html

Page loaded at (UTC):               Wed, 23 Mar 2022 08:59:27 GMT

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Collection server IP:               34.230.137.168

Browser engine:                     Chrome/96.0.4664.93

Operating system:                   Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                         5

Capture ID:                         3/7cb64bd-57 7f-4195-9533-d3af0167c26c

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                        New In gay                        Baby               Toddler      Kids    Matching Outfits   Licensed Characters                       Maternity & Nursing            Shoes & Accessories         Home & Baby Gear      Women & Maternity




                                                                                                                           Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops
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                                                                                                                                            2 Years              3-4 Years        4-5 Years     6-7 Years




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Capture timestamp (UTC): Wed, 23 Mar 2022 09:00:12 GMT                                                                                                                                                                                                                        Page 1 of 4
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                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 37 of 51 PageID #:3519
                        New In Gay                Baby            Toddler   Kids        Matching Outfits          Licensed Characters        Maternity & Nursing          Shoes & Accessories            Home & Baby Gear            Women & Maternity




                          $4.99                                                    $9.99                                                 $8.99                                                  $4.99
                          Family Matching All Over Lapel Long-sleeve Shirt         Wine Red Swiss Dot Long-sleeve Belted Ruffle          Family Matching All Over Floral Print Black V          Family Matching Dark Red Square Neck Long-
                          Dresses and Raglan-sleeve T-shirts Sets                  Hem Chiffon Midi Dress for Mom and Me                 Neck Midi Dresses and Striped T-shirts Sets            sleeve Splicing Floral Print Dresses and T-shirt...




                           $7.99                                                   $7.99                                                 $2.99                                                  $6.99
                          Dark Green Print Family Matching Sets(Floral             Family Matching Cyan Long-sleeve Splicing             Family Matching All Over Floral Print Long-            Family Matching All Over Floral Print Dark Blue
                          Print Long Sleeve Dresses and Short Sleeve..             Floral Print Irregular Dresses and Striped Polo...    sleeve Belted Dresses and Color Block Striped...       Long-sleeve Dresses and Raglan-sleeve T-shir...




                            i                               t
                           $5.99                                                   $8.99                                                 $7.99                                                   $2.99
                          100% Cotton Crepe Solid Pink Long-sleeve Tie             Floral Print Black Family Matching Sets(Long          All Over Floral Print Black Stand Collar Ruffle        Family Matching All Over Plants Print Long-
                          Waist Maxi Dress for Mom and Me                          Sleeve Midi Dresses and Striped T-shirts)             Long-sleeve Dress for Mom and Me                       sleeve    Dresses   and   Raglan-sleeve   T-shirts   Sets




                                                                                                                                         $4.99                                                  $4.99
                          Family Matching All Over Floral Print V Neck             Floral Print Blue Series Long-sleeve Family           Family Matching All Over Floral Print Blue Long-       Family Matching Floral Print Black Lapel V Neck
                          Long-sleeve Dresses Splicing T-shirts Sets               Matching Sets(Belted Pleated Dresses and...           sleeve Belted Dresses and Striped Tops Sets            Button Long-sleeve Dresses and T-shirts Sets




                          Family Matching All Over Floral Print Black Long-        Family Matching Long-sleeve Cross Wrap Ruffle         Brown Series Long-sleeve Family Matching               Solid Striped Short-sleeve Family Matching Sets
                          sleeve Ruffle Dresses and Color Block Tops Sets          Splice Floral Print Dresses and Striped T-shirts...   Sets(Polka Dot V Neck Belted Midi Tiered...




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Document title: Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops Sets Only $7.99 Patpat US
Capture URL: https://us.patpat.com/product/F amily-Matching-Allover-Floral-Print-Long-sleeve-Dresses-and-Contrast-Stripe-Tops-Sets-513806.html
Capture timestamp (UTC): Wed, 23 Mar 2022 09:00:12 GMT                                                                                                                                                                                                       Page 3 of 4
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                                           Great Price                                                                                                                                                       QSIGNIN       QOFAVORITES     [BAG

                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 38 of 51 PageID #:3520
                        New In Gay            Baby       Toddler         Kids        Matching Outfits          Licensed Characters        Maternity & Nursing          Shoes & Accessories        Home & Baby Gear            Women & Maternity




                           $5.99                                                $8.99                                                 $7.99                                                  $2.99
                          100% Cotton Crepe Solid Pink Long-sleeve Tie          Floral Print Black Family Matching Sets(Long          All Over Floral Print Black Stand Collar Ruffle        Family Matching All Over Plants Print Long-
                          Waist Maxi Dress for Mom and Me                       Sleeve Midi Dresses and Striped T-shirts)             Long-sleeve Dress for Mom     and Me                   sleeve Dresses and Raglan-sleeve T-shirts Sets




                          Family Matching All Over Floral Print V Neck          Floral Print Blue Series Long-sleeve Family           Family Matching All Over Floral Print Blue Long-       Family Matching Floral Print Black Lapel V Neck
                          Long-sleeve Dresses Splicing T-shirts Sets            Matching Sets(Belted Pleated Dresses and...           sleeve Belted Dresses and Striped Tops Sets            Button Long-sleeve Dresses and T-shirts Sets




                          $4.99                                                 $6.99                                                 $8.99               .                                  $7.99




                                                                                                                                                                                             ‘b
                          Family Matching All Over Floral Print Black Long-     Family Matching Long-sleeve Cross Wrap Ruffle         Brown Series Long-sleeve Family Matching               Solid Striped Short-sleeve Family Matching Sets
                          sleeve Ruffle Dresses and Color Block Tops Sets       Splice Floral Print Dresses and Striped T-shirts...   Sets(Polka Dot V Neck Belted Midi Tiered...




                                         we                    Be




                           $10.99                                                $9.59                                                $9.99
                          Family Matching Red V Neck Splicing Lace              All Over Floral Print White 3/4 Sleeve Party          Butterfly Print Splicing Half-sleeve Long Maxi         Brown Swiss Dots V Neck Button Long-sleeve
                          Long-sleeve Belted Dresses and 100% Cotton...         Dress for Mom and Me                                  Dress for Mom and Me                                   Ruffle Dress for Mom and Me




                                                                                      ce

                           $8.99                                                $5.99
                          Family Matching Black Long-sleeve Splicing            Family Matching Leopard Splicing Long-sleeve          All Over Floral Print Blue Cross Wrap V Neck           Floral Print Red Family Matching Sets   (Belted
                          Plaid Dresses and Polo Shirts Sets                    Belted Dresses and Black Cotton T-shirts Sets         Long-sleeve Dress for Mom and Me                       Midi Dresses and Striped Long-sleeve T-shirts)




Document title: Family Matching Allover Floral Print Long-sleeve Dresses and Contrast Stripe Tops Sets Only $7.99 Patpat US
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Capture timestamp (UTC): Wed, 23 Mar 2022 09:00:12 GMT                                                                                                                                                                                            Page 4 of4
Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 39 of 51 PageID #:3521




                           EXHIBIT 28D
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 40 of 51 PageID #:3522




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

Capture URL:                     https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-
                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

Page loaded at (UTC):            Mon, 21 Mar 2022 07:45:26 GMT

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      a88d94c8-da8d-4004-b19f-0fe10fd425d2

User:                            pp-zchen




                        PDF REFERENCE #:             ks3EzrN9q7u552MybCKAHH
                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 41 of 51 PageID #:3523




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
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Capture timestamp (UTC): Mon, 21 Mar 2022 07:45:50 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 42 of 51 PageID #:3524




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                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      634f2262-24e7-4ed7-904d-2d40155acf88

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                        PDF REFERENCE #:             cB9abN2puPFfmfX87xhvjQ
                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 43 of 51 PageID #:3525




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Capture timestamp (UTC): Mon, 21 Mar 2022 07:48:23 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 44 of 51 PageID #:3526




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

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                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

Page loaded at (UTC):            Mon, 21 Mar 2022 07:45:26 GMT

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      8f246d7c-ef5f-48df-8cfb-2a394c75351a

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                        PDF REFERENCE #:             e3R4h2oQCx2cFT2FhP9VKg
                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 45 of 51 PageID #:3527




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222376.html?spm=1001.2002.337-pc.0-25
Capture timestamp (UTC): Mon, 21 Mar 2022 07:48:59 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 46 of 51 PageID #:3528




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

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                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      c7b01948-07be-4e80-af37-731ef6140f31

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                        PDF REFERENCE #:             2cYQ4ENGw6K8Z1RHsv9uJ8
                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 47 of 51 PageID #:3529




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
Capture URL: https://www.hibobi.com/detail/Family-Matching-Floral-Print-Long-Sleeve-Dress-and-T-shirt-222376.html?spm=1001.2002.337-pc.0-25
Capture timestamp (UTC): Mon, 21 Mar 2022 07:50:27 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 48 of 51 PageID #:3530




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

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                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

Page loaded at (UTC):            Mon, 21 Mar 2022 07:45:26 GMT

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      b9056961-493f-45b0-bc6e-7a112b1a4b1d

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                        PDF REFERENCE #:             vWyp4Dopxrgvi3Y7PbeXKv
                   Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 49 of 51 PageID #:3531




Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
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Capture timestamp (UTC): Mon, 21 Mar 2022 07:51:03 GMT                                                                                        Page 1 of 1
     Case: 1:22-cv-02259 Document #: 53-27 Filed: 11/15/22 Page 50 of 51 PageID #:3532




Document title:                  Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi

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                                 T-shirt-222376.html?spm=1001.2002.337-pc.0-25

Page loaded at (UTC):            Mon, 21 Mar 2022 07:45:26 GMT

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Capture tool:                    v7.14.0

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      29b1c7d5-f2f9-4051-9f61-26977f299839

User:                            pp-zchen




                        PDF REFERENCE #:             xyT4jAitTyCZHPTcSnjkVH
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Document title: Family Matching Floral Print Long Sleeve Dress and T-shirt - hibobi
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Capture timestamp (UTC): Mon, 21 Mar 2022 07:51:49 GMT                                                                                        Page 1 of 1
